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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        NEWNAN DIVISION



HEATHER NORTON,                           )
                                          )
      Plaintiff,                          )
                                          )   CIVIL ACTION FILE
v.                                        )
                                          )   NUMBER 3:11-cv-198-TCB
APPLEBAUM & ASSOCIATES                    )
SOUTH, INC., et al.,                      )
                                          )
      Defendants.                         )



                                 ORDER

      On February 14, 2013, Plaintiff’s counsel filed a notice of voluntary

dismissal [33]. At this stage of the proceedings, Federal Rule of Civil

Procedure 41(1)(A)(ii) requires that a notice of dismissal be signed by all

parties who have appeared in order to dismiss the case. Defendants have

not signed the notice. However, pursuant to Rule 41(a)(2), the Court may

enter an order approving the voluntary dismissal. The Court contacted

defense counsel via telephone and confirmed that Defendants consent to

the notice of dismissal with prejudice.
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     Accordingly, this case is hereby DISMISSED WITH PREJUDICE.

The Clerk is DIRECTED to close this case.

     IT IS SO ORDERED this 15th day of February, 2013.




                                        Timothy C. Batten, Sr.
                                        United States District Judge




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